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      Exhibit A
                                                                                                   Case 1:19-cv-02228-ELH Document 17-2 Filed 09/03/19 Page 2 of 38

                                                                                                        Ways and Means
                                                                                                                 2/19/2019
                        HB0565 - Delegate Mosby
                        Election Law - Voting Systems - Accessibility for Voters With Disabilities
                        TOTALS:       Panels: 2          FAV: 7                            FWA: 0       UNF: 2   INFO: 1       Oral: 10   Written: 9                      2/19/2019 1 :00 PM
Type                    Position Testify            Name                                                   Organization              Address                Phone       Email
Panel - Bill            FAV      Oral               Delegate Mosby
Sponsor
Panel - Public          FAV          Both           ronza. .othnian
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                        FAV          Both       .   tyrone bullock                                         nfbmd
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                        FAV          Both       .   sharon maneki                                          nfbmd
                        FAV          Both           mare maurer
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                                                                                                           nfbmd
Individual              FAV          Both           Mat Rice                                               People On The Go
Individual              FAV    , ,   Both   .       jonathan lazar                                         university of
                                                                                                           M%nd       .    ,




Individual              UNF          Both           Robert Ferraro                                         SAVE our Votes
                                                                                                                                                       •r
Individual
f
    ’   *   *   \   ,
                        lUNF         Both           Kevin Kinnally                                         Maryland
                                                                                                           Association of
                                                                                                           Counties .
Individual              INFO         Both           Katherine Berry                                        Maryland
                                                                                                           Association of
                                                                                                           Election Officials




Witness Admin Sort By Panel Priority - printed 2/ 19/2019 12:04:40 PM                                                                                                              Page 7 of 14
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        MARYLAND
         Association of
        COUNTIES
                                             House Bill 565
                                                  -
             Election Law - Voting Systems Accessibility for Voters With Disabilities


     MACo Position: OPPOSE                                To: Ways & Means Committee

     Date: February 19, 2019                              From: Kevin Kinnally



The Maryland Association of Counties (MACo) OPPOSES HB 565. This bill would require
each voter to use a ballot marking device that is accessible to voters with disabilities to vote at
an early voting center or an Election Day polling place. The legislation places a very
substantial administrative and cost burden onto local Boards of Elections, whose functions are
supported by county funding.

HB 565 seeks to ensure that voters with disabilities are provided specified access to voting that
is equivalent to access afforded voters without disabilities. MACo does not raise policy
objections with this goal - county concerns are merely practical and cost-driven.

As a rule, MACo resists state policies that result in costly or burdensome local implementation.
This bill would result in substantial costs to local Boards of Elections, driving needs for
additional ballot marking devices (approximately 18,000 statewide) to accommodate all
eligible voters, as well as increased storage and transportation costs.

Furthermore, local Boards of Elections indicate substantial costs for information technology
personnel to test, prepare, troubleshoot, and maintain the additional ballot marking devices.
According to the bill's fiscal and policy note, county expenditures would increase by
$6 million per election cycle.

Under state law, counties have no choice but to fund these costs - competing for limited local
funds against education, public safety, roadway maintenance, and other essential public
services.

This bill would place a costly mandate on county governments to carry out new state policy.
Accordingly, MACo urges the Committee to issue an UNFAVORABLE report on FIB 565.



                                      169 Conduit Street, Annapolis, MD 21401
                        410.269.0043 BALT/ANNAP 301.261.1140 WASH DC 410.268.1775 FAX
                                               www.mdcounties.org
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                       NATIONAL FEDERATION
                      OFTHE BLIND
                                                MARYLAND
                                        Live the life you want


Subject:        Support for HB 565

To:             House Ways and Means Committee

From:           Tyrone Bullock

Contact:        4414 Marriotsville Road
                Owings Mills, MD 21117

Date:           February 19, 2019


Please vote in favor of HB 565, a bill to create one voting system for all of the citizens in
Maryland .
I lost my sight in 2016. I was surprised to learn that losing my sight also meant the loss of my
ability to cast a secret ballot. I can use the electronic ballot marking device very well however,
the problem is that this device produces a ballot that is smaller than ballots marked by hand.
Making it identifiable when votes must be recounted.
I am the same person that I was before I lost my sight, why should I face such discrimination just
because I am blind? A vote in favor of HB 565 is a vote to end discrimination. Please support
this important bill and eliminate a separate unequal voting system for the disabled.
         Case 1:19-cv-02228-ELH Document 17-2 Filed 09/03/19 Page 5 of 38




                                         Maryland Developmental
                                           Disabilities Council
                                         EMPOWERMENT * OPPORTUNITY •INCLUSION



                                  House Ways and Means Committee
                                          February 19, 2019
             HB 565: Election Law Voting Systems - Accessibility for Voters with Disabilities
                                 -
                                                Position: Support

The Maryland Developmental Disabilities Council (DD Council) is a statewide public policy organization
that promotes the full inclusion of people with developmental disabilities in all aspects of community
life by eliminating barriers, creating opportunities, empowering people, and promoting innovation. The
DD Council is led by people with developmental disabilities and their families. From that perspective, the
DD Council supports HB 565.

Voting is a fundamental right that Maryland's citizens with disabilities want and need to participate in.
While much has been done to increase access to voting in Maryland; HB 565 is needed to remedy
continued concerns and ensure all of Maryland's voters can access their fundamental right to vote
privately and independently.

State law requires the State's voting system to:
    1. Provide access to voters with disabilities that is equivalent to access afforded voters without
        disabilities without creating a segregated ballot for voters with disabilities;
    2. Ensure independent, private casting, inspection, verification, and correction of secret ballots by
        voters with disabilities in an accessible media by both visual and nonvisual means, including
        synchronized audio output and enhanced visual display; and,
    3.  Comply    with the Americans with Disabilities Act and the Help America Vote Act.

Maryland uses ballot marking devices that include accessibility features for voters with disabilities. This
more accessible voting system began in the 2004 elections, but did not produce the paper ballot records
needed for the purposes of recount and verification. As a result, a new voting system was adopted and
first used in 2016. Prior to the 2016 election, the State Board of Election reduced the number of voters
that must use the ballot marking device from 30 to 2. During the 2016 general election, 12 of the 24
counties had precincts that did not reach the 2 voter minimum. During the 2018 primary election, 9
counties had polling places where only one vote was cast using a ballot marking device               .
HB 565 would require each voter, with or without disabilities, to use a ballot marking device that is
accessible to voters with disabilities so that a ballot cast by a voter with a disability is not
distinguishable from a ballot cast by a voter with a disability. Consistent and widespread usage of
ballot marking devices that are accessible will allow voters to vote privately and independently and
ensure voters with disabilities have equivalent access to exercise the fundamental right to vote.

Contact: Rachel London, Deputy Director
         RLondon@ md-council.org




         217 E. Redwood St., Suite 1300 • Baltimore, MD 21202   - 410.767 3670 800.305-6441
                                                                       .        •             *   md -council.org
                             Kalani Brown, Ckairperson • Brian Cox, Executive Director
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 Subject:       Support for HB 565
 To:            House Ways and Means Committee
 From:          Joel Zimba
 Contact:       2824 Saint Paul St., Apt. 1
                Baltimore, MD 21218
                443-722-3269
Date:           February 19, 2019


I regret that I am unavailable to appear in person to testify in favor of HB 565. If I were not
travelling for work, I would certainly be present.
I have been a resident of Baltimore City for fifteen years. During that time I have voted in every
primary and general election. As I am blind, I use the accessible voting technology in place at the
polls in order to vote independently. Let me be the first to say that the quality of the devices and
the knowledge of the poll workers has increased steadily over time. In general, I am very pleased
with the voting system in Maryland and I have used it successfully for quite some time.
For the past few election cycles, I voted at 100 East 26 St. in Charles Village. This location is
just a few blocks from my home. I have even gotten to know a few of the poll workers by name,
as many of the same people are there election after election. Again, voting has become an
enjoyable experience. This actually brings me to the crux of the issue.
The newest voting machines print a paper ballot which is then scanned by a separate machine.
The ballot marking machines work quite well and I can complete my independent vote in a
matter of minutes. In fact, I participated in one of the early testing phases of the devices. The one
problem is that the ballots produced by the accessible ballot marking devices are not identical to
those marked by a means other than the ballot marking tool. This means that if few, or even one
person were to use the accessible ballot marking device at a given location, it would be very easy
to identify that person. This was the case for me in the 2018 Primary.
I was the only voter who used the ballot marking device in my precinct. Therefore, during the
recounts in Baltimore City, my vote was definitely identifiable. I lost my privacy and my secret
ballot. This is blatant discrimination. State and Federal voting laws specify that a vote must be
secret.
This past election has been full of criticism for the voting process. Voting is one of the most
vital parts of our democracy. I would like to think that Maryland would want to be beyond
reproach when it comes to fair and well-run elections.
Prevent further discrimination against blind and disabled voters like me by voting yes on HB
565.
         Case 1:19-cv-02228-ELH Document 17-2 Filed 09/03/19 Page 7 of 38




                        NATIONAL FEDERATION
                   i%   OFTHE BLIND
                                               MARYLAND
                                       Live the life you want.


Subject:       Support for HB 565

To:            House Ways and Means Committee

From:          Ed Jackson

Contact:       1538 Upshire Road
               Baltimore, MD 21218

Date:          February 19, 2019


I served in the United States Army for 22 years. I was involved in such operations as Desert
Storm and the Vietnam War. I believe in the democratic process and made an extra effort to vote
during my time in the military. When I started to lose my vision in 1997, 1 still continued my
practice of voting in every election.
I lost my right to a secret ballot in the 2016 and 2018 elections along with other blind and
disabled voters. I must use the electronic ballot marking device so my ballot looks different then
the voters who mark their ballot by hand. My vote can be identified because very few people use
this machine.
As a veteran who served his country I believe it is extremely unfair that I should face such
discrimination. Disabled veterans deserve the same right to a secret ballot. Voting in favor of
HB565 will restore this right. I am proud of my service to my country. Now it is time for you to
stand up for disabled voters and end discrimination by voting for HB565.
    Case 1:19-cv-02228-ELH Document 17-2 Filed 09/03/19 Page 8 of 38




                                People On The


                                           Maryland
                                Moving Forward Advocating for Change
                                                ®




                                 Committee: Ways and Means

                                February 19, 2019 by Mat Rice

           HB 565 - Election Law - Voting systems - Accessibility for
                            Voters with Disabilities

                                         Position: support

People on the Go of Maryland the statewide advocacy group ran for and by those with
intellectual and or developmental disabilities is here to testify in support of the proposed
legislation to increase protections for people with disabilities with regards to voting. It is
the most fundamental right of our democratic process to have the right to vote in privacy
and without outside influence.

We feel that having people with disabilities as the only ones to use the electronic ballot
marking device is a privacy issue. People on the Go feels the State Board of Elections
and local boards of elections should expand the use of the ballot marking devices
during early voting and on election day because people with and without disabilities
should be able to use both versions of the ballot marking devices, this ensures the
privacy of voters with and without disabilities is retained. If only people with disabilities
use the electronic ballot marking devices it would allow the votes of people with
disabilities be known since the ballot style is different than the hand-marked ballot.




        7000 Tudsbury Road •Baltimore, Maryland 21244 •Phone: 443-923-9593 •Fax: 443-923-9570
         Case 1:19-cv-02228-ELH Document 17-2 Filed 09/03/19 Page 9 of 38
                         Maryland Association of Election Officials
                          Representing the Local Election Boards of the State of Maryland


                                                                           February 19, 2019


Delegate Anne Kaiser, Chair
Maryland House Ways and Means Committee
Room 131 House Office Building
Annapolis, MD 21401-1991

RE: HB565 - comment

Delegate Kaiser and Committee Members;

My name is Katherine Berry. I am the Election Director in Carroll County and the co-chair of the
Maryland Association of Election Officials Legislative Committee. MAEO represents the local boards of
elections throughout the State of Maryland. I am here today representing myself and the Maryland
Association of Election Officials (MAEO) to offer the following comments regarding HB565 - Election
Law - Voting Systems - Accessibility for Voters with Disabilities.

HB565 would remove the requirement of having pre-printed paper ballots at early voting and the polling
places and require every voter to use a ballot marking device so that someone’ s ballot may not be singled   -
out. The current voting system allows for voters to use a ballot marking device or vote a traditional paper
ballot. In theory this may be very appealing to election administrators because it would eliminate the need
for planning how many ballots need to be deployed, but in practice, the current ballot marking device
might not be the best option.

The local board of election offices are concerned about the following:
   1. The need for additional warehouse space to store ballot marking devices AND scanning units.
   2. Added preparation time for testing the ballot marking devices and scanning units.
   3. Transportation carts will need to be purchased and there will be an increase in cost for the
       transportation of the ballot marking devices.
   4. Specimen ballots that are mailed to voters will be longer in length because, like with previous
       electronic voting systems, a screen shot of the ballot marking device screen must be provided.
   5. Ballot marking devices force voters to go through every screen, so if a person only wishes to vote
       for President of the United States, they have to progress through each screen before allowing the
       ballot activation card to be ejected.
   6. Voters will stand in line between check-in and usage of the ballot marking device for a longer
       period of time.
     .
   7 Voters will need to scan the ballot activation card into the scanning unit creating potential for
       multiple long lines.
   8. The amount of ballot marking devices required for each polling place may be equivalent to the
       amount of voting booths we currently have, but ballot marking devices take up much more space,
       each is required to be plugged in separately and not daisy chained and require more power
       sources than previous electronic voting equipment.
For the reasons I have outlined today, I hope that you will take these comments into serious consideration
before making a decision regarding HB565.

Thank you for your time. If you have any questions, please give me a call at 410-386-2958, or via e-mail
at Katherine.berry @ maryland.gov
                                              www.maeo.net
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                                                      MARYLAND
                                                      CATHOLIC
                                                      CONFERENCE
    ARCHDIOCESE OF BALTIMORE             +   ARCHDIOCESE OF WASHINGTON                 t   DIOCESE OF WILMINGTON


                                              February 19, 2019

                                   HB 565
   Election Law - Voting Systems - Accessibility for Voters With Disabilities

                               House Ways and Means Committee

                                              Position: Support

The Maryland Catholic Conference (“ Conference” ) represents the public policy
interests of the three Roman Catholic (arch)dioceses serving Maryland: the
Archdiocese of Baltimore, the Archdiocese of Washington, and the Diocese of
Wilmington, which together encompass over one million Marylanders.

House Bill 565 encourages equality for all Maryland citizens by requiring each
voter to use a ballot marking device that is accessible to voters with disabilities to
vote at early voting centers and Election Day polling places and prohibits certain
ballots from being set apart or distinguishable from a voter without a disability.

Prior to the 2016 election, all Maryland voters used the same method to mark their
ballots. During the 2016 and 2018 elections, ballots cast by voters with disabilities
were easily distinguished from the hand marked ballots cast by the majority of
voters resulting in a loss of privacy and secrecy, both of which are fundamental
aspects of voting rights in the United States.

According to the latest data from the Centers for Disease Control and Prevention
(CDC), 19.3 percent of adults in Maryland have some type of disability. Building
inclusive, vibrant democracies depends on the active engagement of all citizens in
public life. Maryland should seek practices and policies designed to identify and
remove physical and communication barriers that could hamper the ability to have
full participation in society.

For these reasons, the Conference urges a favorable report on House Bill 565.




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       Case 1:19-cv-02228-ELH Document 17-2 Filed 09/03/19 Page 11 of 38




                             SAVEourVotes
                             SECURE * ACCESSIBLE * VERIFIABLE ELECTIONS FOR MARYLAND



 HB 565: Election Law-Voting Systems-Accessibility for Voters With Disabilities
                      House Ways & Means Committee, February 19, 2019
                                          Position: OPPOSE


Madame Chair and Esteemed Committee Members,

This bill seeks to address the problem that voters who use the ExpressVote Ballot-Marking
Device have a ballot that is different in size, shape, and format from those who mark their
ballots by hand. Since voters with many types of disabilities need to use these devices to mark a
paper ballot, some disability advocates fear that this would enable people to determine how
the disabled community voted. The remedy proposed by this bill would be to require all voters
to use this device to mark their ballots instead of marking paper ballots by hand.

While undoubtedly well-intentioned, this bill proposes a drastic solution that would require
probably about 10 times the amount of equipment Maryland currently uses, would cause long
wait times at the polling place, would disadvantage candidates, and would create ballots that
voters cannot verify are accurate. We respectfully urge you to reject this legislation.

Background

In 2007 the General Assembly voted unanimously to move Maryland away from unverifiable
electronic voting to paper ballots counted by ballot-scanners. This requirement of a voter-
verifiable paper record ( §9-102(d)(l)vii) is now widely established as the "gold standard" for
voting systems because it preserves the original record of voter intent which can be used for
recounts and audits of the election results. The previous paperless touch-screen machines
provided no way for voters to verify whether their votes were recorded accurately in the
machine's memory, and the machines were proven to be highly vulnerable to error and fraud.

The current voting system, first used in the 2016 election cycle, has most voters use hand-
marked paper ballots counted by ballot scanners. For voters unable to mark a paper ballot
independently, the voting system provides a Ballot-Marking Device ( BMD ) - an electronic
interface similar to the previous touch-screen system except that it does not store a record in
its memory of the ballots marked on it. Instead it prints out a paper record of each voter's
selections which is put into the same scanners used to count the rest of the ballots so the votes
are tabulated with all the other votes cast in the precinct.

However, the ballot printed by the ExpressVote BMD does not look like the ballots hand-
marked by other voters. Instead, it uses a smaller card showing only the voter's selected
candidates or choices, which are depicted both as text and as barcodes (please see the diagram
on the next page).
                                                                               Case 1:19-cv-02228-ELH Document 17-2 Filed 09/03/19 Page 12 of 38



         Ballots printed by the                                                                         Paper ballots marked by hand are voter-verifiable
ES&S ExpressVote Ballot-Marking Device
     are not verifiable by the voter
because the voter can’t read the barcodes                                                                                           MONTGOMERY COUNTY
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   automated “ audit”                                          only the text,
   software can read                                         not the barcodes,
   only the barcodes,                                        and cannot verify                                  Voter, scanner and automated “ audit” software are all
       not the text                                              that they match                              reading the same thing — the ovals filled in on the ballot

Please note: These ballot images are for purposes of illustration only and are not intended to reflect a political viewpoint .
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 BMP ballots cannot be verified by voters or by the automated "audit"
The ExpressVote BMD ballot format creates a problem: voters can read the summary text but
not the barcodes. But both the scanner that counts the votes and the software for the
automated "audit" of the ballots can read only the barcodes, not the text. This means that if
the BMD software was hacked and programmed to substitute some barcodes for a different
candidate instead of the candidate the voter had chosen, the voter would not be able to detect
that and neither would the automated "audit." The only way to know if the barcode matches
the voter's selections would be to hand-count every vote on the BMD ballots and compare the
results to the totals calculated by the scanners. But Maryland does not do this.

After detecting Russian interference in US elections, the intelligence communities, the
Department of Homeland Security, and the National Academy of Science all have stated that
voter-verifiable paper ballots with robust manual audits are the most secure way to conduct
elections. The ExpressVote BMD ballots, which voters cannot adequately verify, do not have the
properties necessary to secure Maryland's elections.

Onscreen display and navigation issues
In addition, the ExpressVote BMDs have interface problems that confuse voters and
disadvantage candidates. The BMDs currently can display only a limited number of candidates
on a single screen. When the number of candidates exceeds that limit, which happens
frequently, the contest continues on another "page." The voter must push a flashing bar on the
screen to move to the next screen — similar to scrolling up and down, but it does not use a
scrolling interface. Voters are forced to go to each screen of that contest in order not to
disadvantage the candidates who are displayed on later screens. In addition, there are separate
buttons marked "Previous" and "Next" that move voters from one contest to another.

Voters find this navigation extremely confusing, becoming baffled when the machine won't
allow them to move to the next contest, or not understanding how they suddenly got to a
different contest when they were trying to look at another screen of the same contest. They
often need assistance from election judges, which slows down voting.

This problem was identified before the 2016 elections and the vendor has promised a solution
but so far none has been developed. Understanding that this issue potentially disadvantages
candidates, the State Board of Elections (SBE) has limited the widespread use of the BMDs until
this problem is resolved.

Long lines and high costs

Election officials have noted that voting on the BMDs is slower than hand-marking a paper
ballot. When the SBE was considering deployment of additional BMDs in 2017, they surveyed
local boards of elections for input. While most favored more flexibility in adding a few BMDs to
early voting sites or large polling places with high demand, several specifically commented that
they do not support using only BMDs during early voting, as the SBE is currently considering.
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Election officials from Carroll, Harford, and Wicomico Counties attended the August 24, 2017
SBE meeting to speak out against the widespread use of these BMDs. Other counties submitted
written comments. Their primary concern was long lines. Please see their attached comments
and/or listen to the meeting recording:
http:// www.elections.state.md.us / about / audio /State%20Board%20 of%20Elections%202017-8-
24.mp3 (Time stamps 1:11:56 - 1:12:05 and 1:18:50 to 1:20:41)


The major logistical problem with using a machine to mark every ballot is that it requires a lot
of equipment to accommodate voter demand during peak voting hours. Finding additional
spaces to hand-mark a paper ballot is simple and inexpensive, but if every voter has to wait for
an available ballot-marking machine, long lines would form and voters might leave without
voting, as sometimes happened with our previous touch-screen voting system.

In addition, our old voting system required about ten times more voting machines than the
number of BMDs we currently have, and even that quantity was not large enough to prevent
long wait times during peak voting hours. Obtaining this additional equipment would be a
major expense including not just the BMDs themselves but also the programming,
maintenance, storage, transportation, and other costs of using the machines. The fiscal note is
not yet available as I write this, but studies of the old touch-screen system would indicate that
the increased costs could be tens of millions of dollars for the state and the counties.

The best solution, for now
Our organization is very concerned about accessible voting, and we empathize with the
National Federation of the Blind and others who seek equitable access. But in the Prince
George's County precinct where I serve as a Chief Election Judge, our BMD is busy all day with
many categories of voters, including those who need the accessible features of the machine,
those who prefer a touch-screen interface, and those who have already spoiled two ballots and
need to be sure their third and final ballot is correctible. It would not be possible to discern
which ballot belongs to whom. The current limitation on the use of BMDs imposed by the SBE
ensures that the ballots of disabled voters are not isolated from the ballots of other voters
while minimizing the risks of using this poorly designed equipment.

We sincerely urge your "no" vote on this legislation that would disadvantage candidates, cause
long lines at the polls, increase costs, and potentially leave election outcomes in doubt.

With greatest respect for all that you do to improve voting in Maryland,

Rebecca Wilson, Co-Director
SAVE our Votes: Secure, Accessible, Verifiable Elections for Maryland
rebecca @ SAVEourVotes.org
202.601.8182 cell
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Comments from Local Boards of Elections on the Use of
Only Ballot-Marking Devices During Early Voting
Excerpted from pages 21 -25 of the August 24, 2017 State Board of Elections meeting packet:
                                                      _                  _
https:// www.elections.maryland.gov/ about/ meeting materials/August 2017.pdf



Calvert County Board of Elections
Submitted August 17, 2017 by Gail Hatfield, Elections Administrator
I support the expanded use of BMD's and feel the local boards should have flexibility in
deploying additional voting equipment as needed in polling places and early voting centers,
since they know best where the need exists. Specifically in Calvert, I would like the option to
employ two additional BMD's during early voting, as that always seemed to be where the lines
were.


Prince George's County Board of Elections
Submitted August 24, 2017 by Alisha Alexander, Election Director
I do not want to conduct early voting using BMD's as the only source of voting. There are many
issues that warrant concern and I don't believe they can be resolved prior to June 2018 (i.e.
electrical requirements, procuring/leasing additional BMD's and printers, training Election
Judges to select the correct ballot style on the screen if printers aren't available, line
management [it takes voters more time to vote], the candidate navigation issue, etc.)



Frederick County Board of Elections
Submitted August 22, 2017 by Stuart Harvey, Election Director
What I do not favor is to allow only the BMDs to be used at early voting locations. I do not
believe that BMDs alone could process the thousands of voters that we expect to take
advantage of early voting in 2018. Additionally, due to the length of the gubernatorial ballot,
the amount of time that a voter takes to use the BMD, compared to the regular paper ballot,
has the potential to make for very long lines at the BMDs if they were to be the only option for
voters at early voting.



Caroline County Board of Elections
Submitted August 23, 2017 by Allison Murphy, Election Director
I understand counties with an overwhelming number of ballot styles may be interested in using
all BMDs during early voting. However, I do not want to exclusively use BMDs during early
voting in Caroline County. We have a manageable number of ballot styles and marking paper
ballots seems to be faster for voters than using the BMD.
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               Holding Power Accountable
                                                                                                  February 19, 2019


                                              Testimony on HB 565
                     Election Law - Voting Systems - Accessibility for Voters With Disabilities
                                                Ways and Means

Position: Unfavorable

Common Cause Maryland opposes HB 565, which would require that every early voter in Maryland use ballot
marking devices.

We do not disagree with HB 565's intent, which is to help ensure the secrecy and accessibility of the vote for
disabled Marylanders. We believe that further efforts should be taken to ensure these values are met.
However, we believe that HB 565 goes too far to solve this problem, increasing our dependence on third party
voting machine manufacturers, decreasing our election security, and potentially lessening the efficiency of our
current voting processes in a way that could reduce access by increasing wait times at the polls.

Ballot marking devices are vital tools to assist certain disabled Marylanders in having their voices heard in
         .
elections Marylanders with decreased motor functions, or limited eyesight, may find it impossible to vote on a
paper ballot without assistance. While Maryland allows for this assistance, disabled Marylanders
understandably prefer the secrecy and independence in their vote allowed by ballot marking devices.

However, because these devices provide unique benefits to disabled Marylanders, and there are a limited
number of machines per precinct (if there is even more than one), the current system reduces secrecy for
disabled Marylanders. Current law tries to alleviate this problem by allowing voters to pick their method of
voting - whether it is by ballot marking device or paper ballot at the precinct.

HB 565 laudably tries to alleviate this situation, but we are concerned that it goes too far. Common Cause
Maryland prefers as many voters as possible vote paper ballots - they are easily auditable, clear to the voter,
and while imperfect, never break down. Because HB 565 would require all Marylanders to use ballot marking
devices, we urge the committee to give an unfavorable report.




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                       NATIONAL FEDERATION
                       OFTHE BLIND
                                                  MARYLAND
                                          Live tke life you want.


Subject:       Support for HB 565
To:            House Ways & Means Committee
From:          Members of the National Federation of the Blind of Maryland
Contact:       Sharon Maneki, Director of Legislation and Advocacy
               National Federation of the Blind of Maryland
               9013 Nelson Way
               Columbia, MD 21045
               Phone: 410-715-9596
               Email: nfbmd u earthlink.net

Date:          February 19 , 2019


THE PROBLEM
For most of its history, all voters in Maryland used the same voting system. This situation
changed in the 2016 and 2018 elections because the Maryland State Board of Elections (SBE)
created two systems of voting: the ExpressVote electronic ballot marking device (BMD), and
the paper-based system in which ballots are marked by hand. The SBE has selected the voter-
                -
verifiable paper based solution leased from Election Systems and Software (ES&S) as its BMD.
Unfortunately, SBE is limiting the use of this BMD by deploying only one device to each polling
place. The SBE is further limiting the use of these BMDs by requiring only two voters per
polling place to use the BMD. Many blind and disabled voters are forced to use the ES&S BMDs
to cast their ballots because they cannot use the hand marked ballots. The problem for blind and
disabled voters is that the BMDs produce paper ballots that are smaller in size and differ in
content from the hand marked ballots. Thus, in the 2016 and 2018 elections, ballots cast by blind
and disabled voters were segregated and too easily identifiable in the overall collection of
ballots. Therefore, ballots cast by blind and disabled voters were no longer secret. Maryland no
longer had equality in voting.
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 PROPOSED ACTION
The Maryland General Assembly should enact 1TB 565, legislation requiring the SBE to create
one voting system for all voters in Maryland, when the contract for the ES&S BMDs ends in
2020. The preamble of this legislation should state that there shall be no discrimination on the
basis of disability in the voting process. The practice of using segregated ballots must be
eliminated.
BACKGROUND
At the end of the 20th century, Maryland began to modernize its voting system. Gradually,
Maryland introduced voters to using a touch screen electronic system with all jurisdictions using
the same system beginning in the 2004 elections. Voters with disabilities were most pleased
because the nonvisual access of this new voting system allowed us to vote secretly and in private
for the first time. However, this touch screen system did not produce paper ballot records which
would be essential for the purposes of recounts and verification. The SBE was then forced to
adopt a new voting system that was capable of producing paper ballot records. This new voting
system was first used in the 2016 election.
The state of Maryland was unwilling to spend the money that was needed to purchase enough
BMDs for all voters to use in the 2016 elections. This shortage led SBE to deploy only one
BMD in each polling place, which forced most voters to mark their ballots by hand . This
decision was the beginning of the loss of the secret ballot for blind and disabled voters.
In the 2016 primary election, candidates whose names appeared on the second or third screens of
the BMD threatened legal action, complaining that navigating to these screens was too difficult.
To appease these candidates, SBE further limited the use of the BMDs by requiring that only two
voters per polling place needed to use them. This minimum limitation forced even more voters
to mark their ballots by hand.
                                   -
Maryland Election Law Article §9 102(f )(1), Annotated Code of Maryland, states that a voting
system selected and certified by the SBE shall "provide access to voters with disabilities that is
equivalent to access afforded voters without disabilities without creating a segregated ballot for
voters with disabilities."
On December 18, 2013, the Attorney General of Maryland issued an opinion stating that if SBE
chooses to certify an accessible ballot marking device that produces a ballot that is different in
size and/or content from the hand-marked ballots, SBE “ must establish randomized polling-place
procedures to ensure that a significant number of non-disabled voters will use the accessible
voting system to protect the secrecy of the ballots cast by voters with disabilities.” Requiring
only two voters to use the BMD does not meet the definition of randomized polling procedures.
We emphasize again that this two-voter minimum requirement denies blind and disabled voters
the right to a truly secret ballot.
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 CRITICAL ERRORS BY THE SBE
The experience of the 2016 primary and general elections demonstrated that all voters had little
difficulty in navigating the multiple screens on the BMD. Although the concerns of the
candidates were baseless, SBE still refused to change its two-voter policy for the 2018 elections.
SBE also chose to disregard the concerns of disabled voters about their loss of the secret ballot.
The National Federation of the Blind of Maryland (NFBMD) maintains that balancing the rights
of voters against the complaints of candidates does not justify a system that:
(1) creates the physical segregation voters with disabilities;
(2) causes the segregation of their ballots according to physical appearance and content;
(3) jeopardizes the privacy of their votes.
This was the reason language prohibiting a segregated ballot was included in Maryland Election
Law Article §9-102(f )( l ), Annotated Code of Maryland.
We emphasize again that there were no reports of voters having difficulty with navigation during
the 2016 election season. The issue of ballot order bias exists for both hand marked ballots and
BMDs. While most studies agree there is a positive impact on candidates listed first, there is not
a consensus on size of the impact.
FAILURE TO IMPLEMENT BMD USAGE POLICY
In the 2016 and 2018 elections, disabled voters were deprived of the guarantee of a secret ballot
that has always been afforded to non-disabled voters. The SBE data from these elections
demonstrates that the already inadequate SBE policy encouraging two voters in every precinct to
use the BMD was a failure.
                                                   -
In the 2016 general election, twelve of the twenty four counties or county equivalents in
Maryland had at least one precinct where only one voter used the BMD. The SBE did not
provide the data for precincts with zero voters using the BMD. See Appendix A for details.
The loss of the secret ballot by disabled voters was even worse in 2018 than it had been in 2016.
Several primary elections were very close, which resulted in the recounts of votes. The BMD
ballots were definitely identifiable during these recounts. In the 2018 primary election, nine
counties had polling places where only one vote was cast using the BMD. Once again, SBE did
not provide the data for precincts with zero voters using the BMD. See Appendix B for details.
In the 2018 general election, nine counties had at least one precinct where only one voter used
the BMD machine. Nine counties also had at least one precinct where zero voters used the BMD
machine. See Appendix C for details.
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CONCLUSION
The SBE violated Maryland Law by creating a segregated ballot for persons with disabilities. It
also ignored the opinion of the Attorney General by creating policies that did not permit true
randomization of the use of BMDs by both disabled and non-disabled voters. Consequently,
voters with disabilities who must use the BMD no longer have a secret ballot. It is time for
Maryland to go back to its practice of using one voting system for all of its citizens by enacting
HB 565.
Members of the National Federation of the Blind of Maryland urge the Maryland General
Assembly to enact legislation that creates one voting system for all voters in Maryland when the
contract for the ES&S BMD voting system ends in 2020. The Supreme Court ruled that separate
is not equal, sixty-four years ago. It is time for Maryland to recognize this truth by eliminating
discrimination against voters with disabilities. If the ballots of any other protected class of
citizen were identifiable, the General Assembly would surely insist that SBE revise its policies.
Blind and disabled voters deserve the right to equality in voting and a secret ballot, too. Please
vote in favor of HB 565.
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                                                           Appendix A
                                           2016 GENERAL ELECTION DATA
 According to the Maryland State Board of Elections (SBE)1 data, 12 of the 24 counties or county equivalents in
 Maryland had at least one precinct where only one voter used the BMD machine. Those locations are:


                                                                                                   Ual ot :, M ?
                                                                                                        ' '
                   Anne Arundel              I Earleigh Heights VFD                                       1
                   Anne Arundel               ! Southern Middle School                                    1        i

                   Anne Arundel                 Odenton Regional Library                                  1
                ! Baltimore City                Engine House No. 2                                        1
                  ^
                   Baltimore City             | Murty Center- Poe Auditorium                              1
                   Baltimore County             Kingsville Elementary School                              1
                I Baltimore County              Hernwood ES Cafeteria                                     1
                | Baltimore County              Stembridge Community Center                               1
                | Baltimore County              Middle River VFD Hall                                     1
                I Baltimore County              Long Green VFC Hall A                                     1
                   Baltimore County             Gunpowder ES Gym                                         1
                   Baltimore County             Pinewood ES Cafeteria                                    1
                  Baltimore County          | Warren ES Gym                                              1
                  Baltimore County              0wings Mills HS Senior Cafe                              1
                  Baltimore County              Wards Chapel Methodist Church Hall                       1
                i
                  Baltimore County              Church Lane ES M/P Rm                                    1
               ! Carroll _
                »
                                      ^         Francis Scott Key HS Band Room                           1
                  Charles                       LaPlata High School Commons Area                         1
                I
                  Cecil                         Bayview Elementary School S                              1
               | Dorchester   ^             1
                                                North Dorchester MS Foyer                                1
                I Dorchester
                i
                                            ! South Dorchester K-8 School
                                           -1
                                            .
                                                                                                         1
                I Harford                   | Old Post Road Elementary School                            1
                I Howard
                L
                                               Northfield ES Cafeteria                                   1
               ! Howard                        Lisbon VFD Hall                                           1
               i Howard                        Howard HS Gym                    _                        1
               [ Prince George’ s              Kettering Elementary School                               1
               | Prince George’s               Greater Lighthouse Church                                 1
               ! Ihince George’s               Cesar Chavez Elementary SCHL                              1
               prince George’ s                Hyattsville Public Library                                1
               j Washington                    Washington County Technical HS                            1
               ! Washington                 !
                                               Williamsport High School                                  1
               ! Wicomico                      Faith Baptist Church Salisbury                            1
               ! Wicomico                      East Side VFW Memorial Post 2996                          1
                  Wicomico                     Sharptown Firemens Memorial Bldg                          1



^ his chart was created from an SBE data export for each county with the ExpressVote (the trade name of the ballot marking device
machine ) filter applied. The cells indicate voting locations where only one vote was cast using the Ballot Marking Device.
2
  This chart does not include the precincts where no ballots were cast using the ExpressVote BMD.
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                                                                 Appendix B
                                               2018 PRIMARY ELECTION DATA
    According to SBE data, nine counties had polling places where only one vote was cast using the BMD.
        uni                           nr*          a     ‘
                                                          j;
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                                                                                                  !
   Anne Arundel                Brooklyn Park Community Library
                                !                                                                                     159
   Anne Arundel             l Northeast  High School                                                                  205
   Baltimore City           j Murty Ctr-Poe Auditorium                                                                 71
   Baltimore City             School #27 Rodgers Elem                                                                  76
   Baltimore City             School #13 Tench Tilghman Elem                                          1                13
   Baltimore City             School #7 Cecil Elem                                                    1                54
 i Baltimore City             School #122 - Samuel Coleridge-Taylor Elem                              1                 7     1

I Baltimore City      _ j School #53 Brent Elem_                                                      1               373
i Baltimore City              School #53 Brent Elem                                                                   214
I Baltimore City              School #39 Dallas F. Nicholas Sr. Elem                                                  132
    i JBaltimore City         Enoch Pratt Free Library Pennsylvania Ave Br                            1                67
   ' Baltimore City           School #28 William Pinderhughes Elem                                    1                 9
    I  Baltimore City     j   School  #4 Steuart Hill Elem                                            1               172
   I Baltimore City_ , School #4 Steuart Hill Elem                                                    1                52
       Baltimore City   [ Mary E. Rodman Rec Ctr                                                      1               300
       Baltimore City         Academy of Success                                                      1                19
                                                                                                              i
       Baltimore City
       BaltimoreJDity    _J   Community Building
                              School #235 Glenmount Elem/Mid
                                                                                                      1
                                                                                                      1
                                                                                                              f
                                                                                                                  —    54 .
                                                                                                                      156
   j Baltimore City      , Govans Boundary Umc                                                        1               253
 [ Baltimore County Maiden Choice School - Gym                                                        1               250
  i Cecil                   f
                              5-5 Bayview Elementary School                                           1               332
       Harford                Magnolia Elementary School                                              1               235
       Harford                Edgewood Elementary School Cafeteria                                    1               137
| Harford                     Edgewood Recreation & Community Center                          i       1               174
| Harford               j Emmorton Elementary School                                          I       1               431
[      Harford          j Joppatowne High School                                                      1               368
! Harford              1
                              Aberdeen Senior High School Cafeteria                       1           1               321
 I Harford
 h
                              Forest Lake Elementary School                                           1               557
      Howard          _ Running Brook Elem School Cafeteria                                           1               255
i Montgomery                  Chevy Chase United Methodist ^ Church                                   1               320
      Montgomery              Stedwick Elementary School                                              1               429
[ Prince Georges       | Harmony Hall Regional Center                                                 1               509
I Prince Georges              William Beanes Elem Sch                                                 1               289
[ Prince Georges              Pgcps Bldg.                                                             1               480
| Prince Georges              Benjamin D. Foulois Creative & Performing Arts                          1               100
; Prince Georges              Northview Elem. Sch. Cafe. - A.                                         1               199
      Prince Georges   j Benjamin Tasker Middle Sch                                       J
                                                                                                      1               175
! Prince Georges       j Waldon Woods Elem Sch                                                        1               751
[ Washington           j Washington County Technical Hs                                   1           1               119
                                                                                          i
[ Washington           j Big Pool Community Hall                                                      1   !           242

3
    This chart does not include the precincts where no ballots were cast using the ExpressVote BMD.
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                                                  Appendix C
                                     2018 GENERAL ELECTION DATA
In the 2018 general election, nine counties had at least one precinct where only one voter used the BMD
machine. Nine counties also had at least one precinct where zero voters used the BMD machine.



 Anne Arundel          Annapolis Middle School                                                       549
 Anne Arundel          Roger "pip" Mover Recreation Center                             0             320
 Anne Arundel          Roger " pip" Moyer Recreation Center                            0           11062
 Anne Arundel         Lindale Middle School                                            1             806
 Anne Arundel                              -
                      Sevema Park Middle School                                        1             656
 Baltimore City       Engine House #5                                                  0             744
 Baltimore City       School #16 Johnston Sq Elem                                      0             156
 Baltimore City       School #55 Hampden Elem                                           0             49
 Baltimore City       School #28 William Pinderhughes Elem                              0             27
 Baltimore City'      School #122 Samuel Colerid re-Ta lor Elem                        0              41
 Baltimore City       School #225 Westport Elem                                        0             276
 Baltimore City'      Engine House #51                                                 0             130
 Baltimore Citv       Engine House #42                                                 0             599
 Baltimore Cit \      Grace United Methodist Church ( 040 )                            0             765
 Baltimore Citv       Grace United Methodist Church (041 )                             0             822
 Baltimore City       School #122 Samuel Coleridge-Tavlor Elem                         1             15
 Baltimore City       Solo Gibbs Rec Ctr                                               1            466
 Baltimore City       St Nicholas Church Hall                                          1            417
 Baltimore City       Carroll Cook Rec Ctr                                             1            259
 Baltimore Citv       Open Bible Baptist Church                                        1            330
 Baltimore County     Ridge Ruxton School- Multi Purpose Rm                            0            899
 Baltimore County'    Colgate Elementary School - Cafe                                 0            454
 Baltimore County     Sussex Elementary School-Gym                                     0            765
 Baltimore County     Warren Elementary - Gym                                          1           1199
 Baltimore Countv                         -
                      White Marsh Library Meeting Room                                 1            187
 Charles              St Ignatius Church Hall, Hilltop                                 0            650
 Charles              Trinity Church Hall, Newport                                     0           1034
 Charles              St Marys School Brvantown                                        1            194
 Frederick            Mt Pleasant Ruritan Club                                         1           2212
 Harford              Trinity Lutheran School                                          0           1510
 Harford              Edgewood Elementary School Cafeteria                             0            462
 Harford              Joppatowne Elementary School                                     0           1207
 Harford              Deerfield Elementary School                                      0            672
 Harford              Abingdon Fire Hall                                               0           1274
 Harford              Old Post Road Elementary School                                  0           1834
 Harford              Church Creek Elementary School                                   0           2456
 Harford              Highlands School                                                 0            782
 Harford              St. Mary’s Episcopal Church Emmorton                             0            323
 Harford              Riverside Elementary School                                      0            889
 Harford              Level Fire Hall                                                  0           1661
 Harford              Aberdeen Vfw 10028                                               0            534
 Harford              Hickory Elementary School                                        0            818
 Harford              Forest Hill Elementary School                                    0           1951
 Harford              Mountain Christian Church                                        0           1288
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   Harford                            Newport Terrace                                                                  0                   1302
   Harford                            Forest Lake Elementary School                                                    0                   1541
   Harford                            Bel Air Elementary School Gvm                                                    0                    987
   Harford                            Mt. Ararat Lodge                                                                 0                    808
   Harford                            Bel Air Middle School                                                            0                    843
   Harford                            Red Pump Road Elementary School                                                  0                   1360
   Harford                            Bel Air High School                                                              0                    837
   Harford                           Southampton Middle School                                                         0                   2007
   Harford                            Wakefield Elementary School                                                     0                    995
   Harford                           C. Milton Wright High School                                                     0                    1267
   Harford                           Prospect Mill Elementary School                                                  0                    1029
   Harford                           Fountain Green Elementai-y School                                                0                    1303
   Harford                           St. Matthew Lutheran Church-Great Hall                                           0                   1188
   Harford                           Victorious Faith Fellowship Church                                               0                    949
   Harford                           Jarrettsville Elementary School Cafeteria                                        0                   1108
   Harford                           Youth's Benefit Elementary School                                                0                   1154
   Harford                           Norrisville Elementary School  '
                                                                                                                      0                   1297
   Harford                           North Bend Elementary School                                                     0                   1067
   Harford                           Veronica 'roni* Chenowith Activity Center                                        0                   1245
   Harford                           Jarrettsville Library                                                            0                    723
   Harford                           North Harford Elementary Cafeteria                                               0                   1193
   Harford                           Darlington Elementary School                                                     0                    717
   Harford                           Havre De Grace High School                                                       0                    768
   Harford                           Meadowvale Elementary School                                                     0                   1120
   Harford                           Havre De Grace Elementary School                                                 0                    859
   Harford                           Havre De Grace Middle School                                                     0                   1557
   Harford                           Abingdon Elementary School Gym                                                   1                   2118
   Harford                           Fallston Senior High School Cafeteria                                            1                   1737
   Harford                           Ring Factory Elementary School                                                   1                    838
   Harford                           Harford Technical High School                                                    1                   1374
   Harford                           Dublin Elementary School                                                         1                   1270
   Harford                           North Harford High School                                                        1                   1123
   Howard                            Manor Woods Elem School - Cafeteria                                              0                    852
   Montgomery                        Martin Luther King, Jr. Middle School                                            0                   1256
   Montgomery                        Capt. James E . Daly, Jr. Elementary School                                      0                   1074
   Montgomery                        Tilden Middle School/Gvm                                                         1                   1207
   Prince Georges                    Green Valiev Academy                                                             0                    669
   Prince Georges                    Dwight D. Eisenhower Middle School                                               0                    489
   Prince Georges                    Melwood Church of the Nazarene                                                   0                   1045
   Prince Georges                    Harmony Hall Regional Center                                                     1                    686
   Prince Georges                    F.T. Evans Elem Sch - M/P Rm                                                     1                   132
   Washington                        Girls' Inc.                                                                      0                   318
   Wicomico                          Wicomico High School - Cafeteria                                                 1                   552
   Wicomico                          East Side Vfw Memorial Post                                                      1                   314

*Appendix C (continued)
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                     Testimony on HB 565, February 19, 2019
                            Jonathan Lazar, Ph.D., LL.M.
              Professor of Information Studies, University of Maryland

                Testimony to the House Ways and Means Committee

I am here today to state my support for HB 565, because HB 565 addresses the
serious problem that currently exists in Maryland related to ballot segregation and
ballot secrecy.
                                     1. Background

From 2004-2014, all voters in Maryland used the same ballot approach: the Diebold
Accuvote DRE (Direct Recording Electronic) machines. While critics complained that
the machines lacked a paper trail, voters with and without disabilities all used the
exact same voting machine, which was an ideal situation. In the 2016 and 2018
elections, Maryland used a two-tier approach. Voters primarily used the optical scan
paper ballots, however, voters with print-related disabilities, unable to use the optical
scan ballots, instead used the ExpressVote ballot marking device (BMD). The
ExpressVote creates a ballot size and format which is 4.5 x 14 inches (known as the
“ skinny ballot”), and only lists the candidates selected. The standard optical scan
ballot in Maryland is closer to legal paper size, and lists all candidates, not only those
for whom votes were cast.

If all voters (voters with disabilities and those without) use the same BMD, or the BMD
                                                                    -
marks up a ballot that is identical in size and content to the hand marked optical scan
ballot being used by voters without disabilities, there is no potential segregation of
ballots or threat to secrecy of the ballot, as all ballots are identical, exist in large
quantities, and are counted together. This is not the case in Maryland. If the size
and content for the BMD ballots and the hand-marked ballots are not identical, then it
is especially important that large quantities of voters use the BMD which creates the
“ skinny ballot.” This would be the only way to ensure that BMD-marked ballots cannot
be identified to be ballots only from people with disabilities.
                                     2. The problem

The way that Maryland has implemented the use of the ExpressVote ballot marking
device has led to two problems:
1. If very few ballots are cast using the ExpressVote BMD, it is possible to identify that
                                              -
all of the ballots came from voters with print related disabilities, and the ballots may
potentially be segregated and/or treated differently.

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2. If only one or two ballots are cast in a polling place using the ExpressVote, it may
be possible to re-identify the ballots to individual voters, causing a loss of ballot
secrecy. According to data sets provided to me by the Maryland State Board of
Elections, in the 2018 general election, there were 22 precincts in Maryland where
only one ballot was cast using ExpressVote, in the 2018 primary election, there were
40 precincts where only one ballot was cast using ExpressVote, and in the 2016
general election, there were 34 precincts that had only one ballot cast using
ExpressVote (SBE was not able to provide a data set from the 2016 primary election).
                           3. My data collection on this topic

I have done research involving the 19 other states (and the District of Columbia) which
use the ExpressVote ballot marking device. During March-May 2018, 1 placed a series
of phone calls to election officials in the 19 other states (and the District of Columbia)
which use the ExpressVote ballot marking device, to learn more about how they
handled the potential problems of the unique “ skinny ballot” shape of the ExpressVote
ballot. If the state had 5 or more jurisdictions which used ExpressVote, I spoke with
state election officials. If a state had less than 5 jurisdictions which used ExpressVote,
I spoke directly with election officials in each of the jurisdictions. The responses to the
phone calls by election officials described a series of 7 policy options on a spectrum,
of who is allowed to, is requested to, or may use the ExpressVote BMD. These 7
policies are listed in terms of the likely percentages of votes cast using ExpressVote
(from least to greatest), along with nicknames that I created to describe the policy:

1. (“ Paper required”) Unless they appear to have a disability, voters in that state or
jurisdiction are not given the option to use ExpressVote (e.g. Portage County, OH).

2. (“ Paper encouraged”) Voters in that state or jurisdiction are encouraged to use a
paper ballot, but if they ask to use the ExpressVote, they are allowed to do so (e.g.
Iowa and Wisconsin).

3. (“ Paper encouraged unless there is a wait” ) Voters in that state or jurisdiction
without disabilities are directed to use the paper ballot (non-neutral), unless there is a
long wait for paper ballots, in which case voters are directed to use ExpressVote (e.g.
Knox County, OH).

4. (“ Neutral”) Voters in that state or jurisdiction are told that they have a choice of
paper or electronic ballot, in a neutral way (e.g. Kansas).

5. (“ Neutral unless there is a wait”) Voters in that state or jurisdiction are told that they
have a choice of paper or electronic ballot, in a neutral way, but when lines are long at


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the polling place for paper ballots, polling workers then switch and encourage voters
without disabilities to use the ExpressVote machines (e.g. Washington DC).

6. (“ BMD Encouraged”) Voters in that state or jurisdiction are encouraged to use the
ExpressVote device, and only get paper ballots upon request (e.g. West Virginia, and
Hardin and McNairy Counties, TN).

7. (“ BMD Required” ) Voters in that state or jurisdiction are required to utilize
ExpressVote unless they are using a provisional ballot or an absentee ballot. In this
case, there is no issue of the non-standard shape of the ExpressVote ballot, since
there are no equivalent paper ballots (e.g. Carson City, Nevada, Wilson County,
Tennessee, and Kaufmann County, Texas).

The ballot secrecy problems that exist in Maryland do not exist in most
jurisdictions nationwide because voters in other states are using the
ExpressVote BMD in large numbers. In these jurisdictions, voters are given the
neutral option to vote using ExpressVote, are encouraged to vote using
ExpressVote, or are only allowed to vote using ExpressVote.

Furthermore, many jurisdictions have policies in place to increase the number of
ExpressVote ballots at each precinct by encouraging poll workers to vote using
ExpressVote. For instance, in Iowa, Maine, and Michigan, as well as Bloomington IL,
poll workers are encouraged to use ExpressVote to personally vote. There is an
additional benefit here: by using ExpressVote for their personal vote, the poll workers
also learn how ExpressVote works, and can then assist voters who want to use it.

Maryland is not currently using any of these approaches to increase the number
of voters who vote using ExpressVote.

                                  4. What the law requires

In 2013, the Administrator of the State Board of Elections asked the Maryland
Attorney General to issue a statement on the meaning of the term “ segregated ballot”
within Maryland election law.1 The Attorney General indicated that “ the ballots cast by
voters with disabilities could not be identified as such during the process of casting,

1
 Maryland Attorney General (2013). Election Law: Voting Systems-Statutory Construction-
Requirement that Voting Systems Not Create a “ Segregated Ballot" for Voters with Disabilities.
Available at: http://www.marylandattorneygeneraI.gov/Opinions%20Documents/2013/980AG152.pdf




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counting, and, if necessary, re-counting the paper ballots cast in an election.” 2
According to the Attorney General, there are only three ways to meet this statutory
requirement:

1. “ SBE may require all voters to use a voting system that is accessible to voters with
disabilities.”

2. “ SBE may certify an accessible voting system that generates a ballot that is formally
identical to those ballots cast by non-disabled voters so long as all ballots are cast ,
counted, and stored together.”

3. “ The statute permits SBE to certify an accessible voting system that generates a
non-identical ballot, so long as voting procedures are implemented to ensure that non-
disabled voters use the accessible system as well and do so in sufficient numbers to
prevent the resulting ballots from being identified as having been cast by voters with
disabilities.»3

                                  5. Why I support HB 565

The current implementation of voting in Maryland clearly does not meet the
statutory requirement, as described by the Maryland Attorney General. We
currently have a segregated ballot in Maryland, and for some voters in Maryland
who have print-related disabilities, they have been denied access to a secret
ballot. Other jurisdictions around the country who use the ExpressVote BMD (as
described in earlier sections of my testimony), have used it in ways which do not lead
to a segregated ballot. However, the Maryland State Board of Elections continues to
implement voting policies which create a segregated ballot. HB 565 would clearly
eliminate these practices, with the current text of the bill:

“A BALLOT CAST BY A VOTER WITH A DISABILITY MAY NOT BE SET APART OR
DISTINGUISHABLE, IN SIZE AND FORM, FROM A BALLOT CAST BY A VOTER
WITHOUT A DISABILITY.’’

I enthusiastically support HB 565 because it would end the practice of
segregated ballots in the state of Maryland.

2
 Maryland Attorney General (2013). Election Law: Voting Systems-Statutory Construction-
Requirement that Voting Systems Not Create a “ Segregated Ballot" for Voters with Disabilities.
Available at: http://www.marylandattorneygeneral.gov/Opinions%20Documents/2013/980AG152.pdf
3
 Maryland Attorney General (2013) - Election Law: Voting Systems-Statutory Construction-
Requirement that Voting Systems Not Create a “ Segregated Ballot” for Voters with Disabilities.
Available at: http://www.marylandattorneygeneral.gov/Opinions%20Documents/2013/980AG152.pdf

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 Dr. Jonathan Lazar is a Professor in the College of Infomnation Studies (iSchool) at the
 University of Maryland. At the University of Maryland, Dr. Lazar is the associate director of
the Trace Center, the nation’s oldest research center on technology and disability, and is a
faculty member in the Human-Computer Interaction Lab. Dr. Lazar joined the iSchool in 2019,
after 19 years as a Professor of Computer and Information Sciences at Towson University,
where he served as director of the information systems program for 14 years. Dr. Lazar has
authored or edited 12 books, including Research Methods in Human-Computer Interaction
(2nd edition, co-authored with Heidi Feng and Harry Hochheiser), Ensuring Digital
Accessibility Through Process and Policy (co-authored with Dan Goldstein and Anne Taylor),
and Disability, Human Rights, and Information Technology (co-edited with Michael Stein). He
has published over 140 refereed articles in journals, conference proceedings, and edited
books, and has been granted two US patents for his work on accessible web-based security
features for blind users. He frequently serves as an adviser to government agencies and
regularly provides testimony at federal and state levels, and multiple US federal regulations
cite his research publications. Dr. Lazar has recently been honored with the 2017 University
System of Maryland Board of Regents Award for Excellence in Research, and the 2016
SIGCHI Social Impact Award, given annually to an individual who has promoted the
application of human-computer interaction research to pressing societal needs.

Dr. Lazar can be reached by phone at 301-405-2825 and by e-mail at jlazar@umd.edu.




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          Center for
          Civic Design



Testimony to the House Ways and Means Committee for HB 565,
and to the Senate Education, Health and Environmental
Committee for SB 363
Whitney Quesenbery, Co-Director Center for Civic Design1

     The Center for Civic Design is a nonprofit, nonpartisan research organization. We
     conduct research and work with state and local election offices to improve the voter
     experience, make elections easier to administer, and encourage participation in
     democracy. Using our civic design skills in user experience design, usability testing,
     accessibility, and plain language, we have helped hundreds of election officials build
     their skills and capacity, and touched millions of voters.
     We have a long history of work on standards for voting systems. Before starting the
     Center for Civic Design, I served on the Election Assistance Commission's Technical
     Guidelines Development Committee (TGDC) as the chair for human factors and privacy,
     developing the federal Voluntary Voting Systems Guidelines (WSG) 1.0 and 1.1. 1
     continue to work on the next version, WSG 2.0. After founding the Center for Civic
     Design, we have conducted research projects on election design for the National
     Science Foundation, National Institute of Standards and Technology Voting Project,
     Knight Foundation, and the EAC-funded ITIF Accessible Voting Technology Initiative.

     Our series of booklets, the Field Guides to Ensuring Voter Intent, which summarize the
     best research in election design, can be found in election offices across the country.
     This research is also the basis for the first course in the nation on Election Design,
     offered in the University of Minnesota's Certificate in Election Administration.

     The Help America Vote Act (HAVA) of 2002 and the voting system guidelines came into
     being following the 2000 Presidential election, in which flawed ballot design and a
     voting system that did not allow for effective review and verification arguably caused
     ballots to be cast in a manner contrary to voter intent.

     Since then, there has been a substantial body of research showing the impact of poor
     design. In 2008, the Brennan Center report Better Ballots2 and the 2012 Better Design,
     Better Elections3 documented examples of real elections in which flaws in design and
     instructions on both paper and electronic ballots caused lost votes. Even improving
     election materials like the signature forms for absentee ballots can make a difference.



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In Minnesota, for example, a new design cut the number of absentee ballots that could
not be counted in half.

The idea of universal design has been part of the work on voting system standards
from the beginning. One of the first resolutions adopted by the TGDC, 6-05
Accommodating a Wide Range of Human Abilities, says:

         The voting population includes not only people with specifically
         identified disabilities but also the aging population, language
         minorities, and people with other special needs. A goal of voting
         system standards should be to accommodate, as much as possible,
         this wide range of abilities to ensure the greatest usability and
         accessibility of those systems. This approach is sometimes called
       j "universal design" or "universal usability."


The concept of "universal design" is not a one-size-fits-all voting system, but one that
includes technologies such as audio output and a choice of input devices to allow
people with different abilities and accessibility needs to choose the formats that best
support them in marking, verifying, and casting their ballot.

One voting system architecture that can be both accessible and secure is a ballot
marking device. These systems have an electronic interface for marking the ballot, and
then printing a paper ballot for verification and casting. The electronic interface has
advantages for accurate ballot marking for many types of voter needs:

• Language access. Using an electronic interface helps voters with low English
    proficiency by allowing them to switch between English and an alternative
    language provided under the Voting Rights Act. In our research, we see that
    voters who are able to vote in English for contests for office benefit by being
    able to switch to an alternate language to read the more complex legal text of
    ballot questions.
•   Support for low literacy. According to the U.S National Assessment of Adult
    Literacy4, 44% of adult Americans read at basic or below basic levels. The work
    of Dr. Kathryn Summers at the University of Baltimore5 documents how
    characteristic habits of voters who do not read well can make it harder to vote.
    A well-designed electronic interface supports low literacy voters by providing
    immediate feedback for their ballot, making it easy to fix errors, and creating a
    linear flow through the ballot as they mark one contest at a time.




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 *Adjustable visual interface. Electronic voting interfaces allow voters to change
  the size and contrast of the text so that they can read the screen. This helps
  voters with visual disabilities, but is also important for voters who don't read
  well, and others who may have simply forgotten their reading glasses.
• Tactile input keys. Alternative keypads and access ports for dual switches, sip-
  and-puff devices, and other assistive technologies allow those with manual
  dexterity challenges, or who cannot use the touch screen, to vote
  independently.
® Audio output format. The value of audio is obvious for blind voters, but it is
  also useful for voters who don't read well, to reinforce ballot content for voters
  with cognitive or reading disabilities such as dyslexia or some attention
  disorders, and for language access for non-written Native American languages.
  Researchers at Rice University have suggested that even voters with no visual
  disability would benefit from the combination of visual and audio feedback and
  confirmation6. .


The electronic marking interface has value for all voters because it provides immediate
feedback of the candidate selected and helps avoid errors: It can warn of undervotes—
opportunities to vote not taken, either because a contest was skipped or options in a
multi-selection contest were left blank. More importantly, the interface prevents
overvotes, marking too many choices and invalidating the vote in a contest. Finally, the
review screen offers voters a chance to check their votes and make corrections before
printing a paper ballot.
There have been concerns about the time it takes to vote, but it may be faster to vote
with an electronic interface. In research at Clemson University into how to speed up the
voting process7, participants took almost a minute longer using a hand-marked paper
ballot. In our own research, we have observed that the time to vote a ballot may be as
much a function of personal habits as the marking method. In a study in which
participants marked the same ballot on an electronic interface and on paper ballots,
people took close to the same time for both depending on whether they tended to
mark and review slowly or rushed through the process.

Because they produce a paper record, ballot marking systems avoid the security issues
of fully electronic voting systems (known as DREs) in which voters both mark and cast
the ballot electronically. However, the paper ballot must be designed so that it can be
easily read with a magnifying device or using personal assistive technology that can
read the printed text through optical character recognition (OCR) so that blind and low
vision voters can also verify the paper ballot.



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            The benefits of a ballot marking device are not automatic. They must be well- designed
            for a usable and accessible voting experience— in both visual and audio formats. The
            best way to ensure that a voting system meets the goals of universal design, allowing
            the wide range of people to use it effectively, is through a robust program of usability
            testing8. Usability testing is a way to learn about how easy or difficult it is for people to
            use something by observing them actually using it. This kind of testing is an important
            part of the design and development process, but is also invaluable for involving the
            entire community in the process of selecting a voting system, planning polling place
            procedures and election worker training, and voter education on how to use the
            system.




1
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2   https://www.brennancenter.org/publication/better-ballots
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_Electronic_Voting . Summary available at: https://civicdesign.org/writing-election-information-that-
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                                                                 Center for Civic Design [ February 19, 2019
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                               SAVEourVotes
                                                -
                               SECURE * ACCESSIBLE VERIFIABLE ELECTIONS FOR MARYLAND



  HB 565: Election Law-Voting Systems-Accessibility for Voters With Disabilities
                 Heard in the Ways & Means Committee, February 19, 2019
                  Revised Position: FAVOR WITH AMENDMENTS


 Madame Chair and Esteemed Committee Members,

 This bill seeks to address the problem that voters who use the ExpressVote Ballot-Marking
 Device ( BMD) have a ballot that is different in size, shape, and format from those who mark
 their ballots by hand. Since voters with many types of disabilities need to use these devices to
 mark a paper ballot, some disability advocates fear that this provides a means to determine
 how the disabled community voted, or potentially even how a specific voter voted.

We completely support the concerns of voters with disabilities about the privacy of their votes.
Voting by secret ballot is fundamental to American democracy because it prevents voter
intimidation and coercion. Therefore, we support the requirement in this legislation that ballots
marked by the BMD must match ballots marked by hand.

We do not support requiring all voters to use a BMD, but we would support specifying the
minimum number of voters who must use each existing BMD to preserve the privacy of all
voters who use it.

The amendments we propose are:
   1) Retain §9-102 ( g) (1) — the requirement that at least one voting system in each polling
      place must provide access for voters with disabilities;
   2) Require that a minimum number of voters must use each ballot-marking device;
   3) Retain this language: (II) A BALLOT CAST BY A VOTER WITH A DISABILITY MAY NOT BE
      SET APART OR DISTINGUISHABLE FROM, IN SIZE AND FORM, A BALLOT CAST BY A VOTER
      WITHOUT A DISABILITY; and
   4) Add requirements that the BMD ballot:
      •must be voter-verifiable through both visual and nonvisual means, and
      •the marks verifiable by the voter must be the same marks used to tabulate the votes.
There are at least 2 voting systems currently available on the market that would meet these
and all of the other requirements already specified in statute which the ExpressVote BMDs do
not meet (see attached document). When Maryland's lease for the current voting system
expires after the 2020 elections, we support the move to a voting system that complies with
state law. Since it will probably take at least 2 years to select and procure a new voting system,
this bill would be timely in moving us towards that goal.
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When Maryland procured the current voting system, the State Administrator of Elections
obtained an opinion from the Office of the Attorney General about whether a BMD ballot that
is a different size and format from the ballot hand-marked by voters meets the definition of a
"segregated ballot." The opinion said:
        First, SBE may require all voters to use a voting system that is accessible to voters with disabilities.
        This option would not segregate ballots in anyway, but the cost and inefficiency of such a system —
        which the statute requires SBE to consider — might weigh against it. Second, SBE may certify an
        accessible voting system that generates a ballot that is formally identical to those ballots cast by non-
        disabled voters so long as all ballots are cast, counted, and stored together. Finally, after considering
        the legislative history and the definitions and usage of the term "segregated," we conclude that the
        statute permits SBE to certify an accessible voting system that generates a non-identical ballot, so
        long as voting procedures are implemented to ensure that non-disabled voters use the accessible
        system as well and do so in sufficient numbers to prevent the resulting ballots from being identified
        as having been cast by voters with disabilities.
        (See http://www.marylandattorneygeneral.gov/Opinions%20Documents/2013/98OAG152.pdf)

We do not support the requirement that all voters must use a ballot-marking device. That
would necessitate, as the fiscal note says, at least 18,000 additional BMDs to be added to the
current stock of about 1,900 BMDs statewide, which would more than double the current costs
of MD' s voting system. Even that quantity would probably not be enough to accommodate all
voters during peak voting hours, and we know from past experience with our previous touch-
screen voting system that when voters are forced to wait an hour or two to vote, some are
disenfranchised. Elderly or infirm voters, those waiting in line with small children, or those who
have to report for shift work or pick up children by a specific time are often unable to stay long
enough to vote. The rights of voters with disabilities must be balanced with the rights of all
voters to use an efficient and cost-effective voting system.

The second option discussed in the opinion above — a voting system with a BMD ballot that
matches the hand-marked paper ballots — would be the fairest option. We support procuring
such a system when Maryland' s current lease term ends following the 2020 elections. Until
then, we would support a legislative requirement specifying the minimum number of voters
who must use each deployed BMD to protect the privacy of all voters who use it.

We urge you to amend and pass this legislation to move Maryland forward to a voting system
that is fairer and more verifiable, yet would be as cost-effective as our current voting system.

With greatest respect for all that you do to improve our elections,

Robert Ferraro and Rebecca Wilson, Co-Directors
SAVE our Votes: Secure, Accessible, Verifiable Elections for Maryland
ferra ro (5)SAVEourVotes.org 301.661.2989
rebecca (5) SAVEourVotes.org 202.601.8182
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                                        Article - Election Law

 The ExpressVote Ballot-Marking Device does not comply with these requirements of Maryland law:


 §9-102.
     (a) The State Board may not certify a voting system unless the State Board determines that:
         (1) the voting system will:
                 (v) protect all other rights of voters and candidates;
 The ExpressVote Ballot-Marking Device ( BMD) interface can present only a limited number of
 candidates on a single screen. This may disadvantage candidates who appear on subsequent
 screens, which is the reason the State Board of Elections restricts the widespread use of these BMDs.
 The navigation designed to force voters to view all the candidates in each contest before moving to
 the next contest is confusing to voters, who often require assistance from election judges and have a
frustrating voting experience.

                 (vii) provide a voter-verifiable paper record that:
The ballot printed by the ExpressVote BMD is not voter-verifiable. The voter can read the text on the
ballot but not the barcodes used to tabulate the votes, so voters cannot verify that these ballots
accurately represent how they voted. The automated audit also examines only the barcodes and
does not check that the barcodes match the voter-verifiable text (see diagram on reverse).

         ( 3) the public interest will be served by the certification of the voting system.
A ballot that is not voter-verifiable undermines public trust in the voting system. A system that
provides verifiable ballots to some voters and not to others discriminates against those voters whose
ballots are not voter-verifiable.

(f ) A voting system selected, certified, and implemented under this section shall:
        (1) provide access to voters with disabilities that is equivalent to access afforded voters
        without disabilities without creating a segregated ballot for voters with disabilities;
Because the ExpressVote BMD does not provide a voter -verifiable ballot and it is the only means for
many voters with disabilities to mark a ballot independently and privately in the polling place, it
does not provide access to voters with disabilities that is equivalent to access afforded voters
without disabilities.

§ 9- 203. Ballot requirements
    (a ) Each ballot shall:
        (2) present all candidates and questions in a fair and nondiscriminatory manner;
The ExpressVote BMD provides a ballot that shows only the choices the voter selected. It does not
include all candidates or present ballot questions. And the interface that the voter uses to mark the
ballot does not display candidates fairly, as noted above in 9-102 ( a) (1) (v).
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         Ballots printed by the                                                                       Paper ballots marked by hand are voter-verifiable
ES&S ExpressVote Ballot-Marking Device
     are not verifiable by the voter
because the voter can’t read the barcodes                                                                                           MONTGOMERY COUNTY
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          U S PRESIDENT ANO U S VICE PRESI * REP DONALD J TRUMP                                                 .
                                                                                                       el Ova to No haga ninguna             ° Marcia H. Morgan
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          U S SENATE                        REP SENATOR JOHN 800ZHAN
          U S CONGRESS DISTRICT QJ - REP CONGRESSMAN STEVE WOMACK
          STATE REPRESENTATIVE DISTRICT 8 ? 0IS *REP JEFF WILLIAMS
          COUNTY JUOGE                            REP JOSEPH K UOOO
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                                                                                                                                             ° Jerome “ Jerry" Segal
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                                                                                                                                                                             *3     Sara Love


          COUNTY ASSESSOR
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                                           REP ASSESSOR RUSSELL HILL                             -O                                          °  Debbie "Rica" Wilson         o Samir Paul
          CIRCUIT   CLERK         REP   CIRCUIT CLERK
                                                       -
                                                      KYLE SYLVESTER
          CONSTABLE DISTRICT 81 DISTRI REP CONSTABLE JOHN 0UG6AR
          MAYOR SPRINGDALE          - -
          CLERK / TREASURER SPR1NG0 ALE
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          ALDERMAN WARD 1 POSITION Z SPRIMGOALE             ERIC FORD                              stray mark, you may ask for           .    District 6     . *v            Ejeculivo del Condado
          ALDERMAN WARD 2 POSITION 2 SPRINGDALE            RAY DOTSON                            M
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          ISSUE NO    6                                        • •FOR ISSUE NO 6
          ISSUE NO    7
         UNOPPOSED CANDIDATES            -    -•
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                                                               HO SELECTION HADE
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                                                                                                                                                  Chris Grovos               o Rose Krasnow
                                                                                                 “ j Governor / Lt Governor                  °
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                                                                                                                                               Nadia Hashlml                 ° George L. Leventhal
                                                                                                      "l Vote for 1                               Christopher Hearsey


  Ballot scanner and                                            Voter can read
                                                                                                 —      Gobomador / Vicegobemador
                                                                                                        Vote por 1                           ° Roger Manno
                                                                                                                                             c Aruna Millor
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                                                                                                 “ o Rushom L Baker, (II                     Q    DavidTrono
  automated “ audit”                                             only the text,
  software can read                                           not the barcodes           }


   only the barcodes,                                         and cannot verify                                Voter, scanner and automated “ audit” software are all
      not the text                                             that they match                               reading the same thing — the ovals filled in on the ballot

Please note: These ballot images are for purposes of illustration only and are not intended to reflect a political viewpoint.
         Case 1:19-cv-02228-ELH Document 17-2 Filed 09/03/19 Page 38 of 38




                        NATIONAL FEDERATION
                        OFTHE BLIND
                                                  MARYLAND
                                          Live ike life you want.


 Subject:       Support for Amendment to HB565/SB363
 To:            House Ways and Means Committee
 From:          Members of the National Federation of the Blind of Maryland
 Contact:      Sharon Maneki, Director of Legislation and Advocacy
               National Federation of the Blind of Maryland
               9013 Nelson Way
               Columbia, MD 21045
               Phone: 410-715-9596
               Email: nfbmd@earthiink. iiet


HB565/SB363 will restore the secret ballot to blind and other disabled voters. The amendments
will give the State Board of Elections (SBE) more time to determine proper procedures to
eliminate segregation by changing the implementation date from the elections of 2022 to the
elections of 2024. The amendments will also require SBE to offer the electronic ballot marking
device (BMD) to all voters or to ensure that the ballot printed from the BMD looks the same as a
ballot marked by hand. Starting with the 2020 elections, SBE must institute procedures so that
at least ten percent of the voters in each precinct use the BMD and report their progress to the
House Ways and Means Committee and the Senate Education, Health and Environmental Affairs
Committee.
Maryland must end the practice of segregated voting. Please vote in favor of the amended
HB565/SB363.
